                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                        Civil Action No.: 5:21-cv-118-KDB-DSC

ELIZABETH RUDDY and LATOYA )
DANIELS, On Behalf of themselves and All )
Others Similarly Situated,               )
                                         )
                    Plaintiffs,          )
                                         )
v.                                       )
                                         )
CAVALRY PORTFOLIO SERVICES INC.,         )
                                         )
                   Defendant.            )

                                             ORDER

       THIS MATTER is before the Court on Plaintiffs’ “Consent Motion for Leave to Take

Discovery on the Issue of Arbitrability and to Stay Defendant’s Motion To Compel Arbitration

and Dismiss or Stay this Action” (document #9).

       Defendant has consented to Plaintiffs taking limited discovery on the formation and

performance of the arbitration clause and to stay further briefing on Defendant’s Motion to

Compel Arbitration (document #6) pending completion of limited discovery. The parties have

also agreed to an extended briefing schedule following discovery.

       The Court concludes that a brief period of discovery limited to arbitration issues is

appropriate. However, rather than hold the pending Motion to Compel Arbitration in abeyance,

in the interests of judicial efficiency, the Court will deny it without prejudice to Defendant filing

an updated Motion following discovery.

       IT IS THEREFORE ORDERED that:

       1.   Plaintiffs’ “Consent Motion for Leave to Take Discovery on the Issue of Arbitrability

            and to Stay Defendant’s Motion to Compel Arbitration and Dismiss or Stay this



     Case 5:21-cv-00118-KDB-DSC Document 10 Filed 11/03/21 Page 1 of 2
    Action” is GRANTED IN PART. The parties shall engage in limited discovery as

    to the issues identified in Plaintiffs’ Motion, including subpoenas, if any, which shall

    be completed by January 31, 2022.

 2. Defendant’s “Motion to Compel Arbitration …” is ADMINISTRATIVELY

    DENIED WITHOUT PREJUDICE to its right to renew the Motion following

    completion of limited discovery.

 3. The Clerk is directed to send copies of this Order to counsel for the parties and to the

    Honorable Kenneth D. Bell.

    SO ORDERED.
                               Signed: November 3, 2021




Case 5:21-cv-00118-KDB-DSC Document 10 Filed 11/03/21 Page 2 of 2
